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UNITED STATES DISTRICT COURT

DISTRICT OF CONNECTICUT

ROXANA WALKER-CANTON,
Plaintiff

Vs. : C.A. NO.

FAIRFIELD UNIVERSITY, :
Defendants : SEPTEMBER 15, 2014 . |

COMPLAINT
INTRODUCTION

1. This is an action for money damages, costs, attorney’s fees, and other relief as
a result of Defendant's breach of contract and discriminatory conduct
undertaken against Plaintiff on the basis of her race and gender in violation of
federal and state law.

2. Plaintiff brings this action under Title VI! of the Civil Rights Act of 1964, as
amended, 42 U.S.C. § 2000e et seq. (‘Title VII”), the Connecticut Fair
Employment Practices Act, Conn. Gen. Stat. § 46a-60 ef seg. (“CFEPA’), and
the common law of the State of Connecticut.

JURISDICTION

3. This Court has subject matter jurisdiction over this matter pursuant to 28
U.S.C. § 1331 because it presents a federal question under 42 U.S.C. § 2000e
et seq.

4. This Court has supplemental jurisdiction over state law claims pursuant to 28

U.S.C. §1367.

 
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5. Plaintiff dual filed her claims with the Connecticut Commission on Human
Rights and Opportunities (““CCHRO”) and Equal Employment Opportunity
Commission (“EEOC”) on October 17, 2013.

6. Plaintiff received a release of jurisdiction from the CHRO on or about June 25,

2014 and the EEOC on or about June 26, 2014.

PARTIES

7. Plaintiff, Roxana Walker-Canton, is an African American female. Plaintiff
presently resides in Hamden, Connecticut. At all times relevant to this
Complaint, Plaintiff was an employee of Defendant.

8. Defendant, Fairfield University, is a Connecticut Non-Stock Corporation.
Defendant is an employer within the meaning of, and subject to the provisions
of, Title VII and CFEPA.

BACKGROUND

9. Atall times hereinafter relevant, the Plaintiff was a qualified and experienced
Professor and filmmaker. The plaintiff earned her B.A. degree, magna cum
laude, from Spelman College in 1991 in French and Spanish, Master's Degree
in Black Studies in 1994 and a Masters in Fine Arts Degree in English in 1994.
The Plaintiff also received a Masters in Fine Arts in Film and Media Arts from
Temple University in 1999.

10. Before working for the Defendant, Plaintiff was a Part-time Assistant Professor
of Gender & Women’s Studies & Film Studies at Connecticut College from

2004 to 2008.

 
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11. Plaintiff has received numerous grants for her work. She recently received an
Artist Fellowship Grant from the CT Commission on Culture & Tourism and a
National Council for Black Studies Cutting Edge Gender Research Grant.

12. Plaintiff has numerous scholarly activities that were subjected to peer review.
Plaintiff was the co-author of a successful Humanities Institute to advance a
new student group called “Reel Woman,” which brought film makers and
scholars to campus to get women in the Department of Visual! and Performing
Arts to think about gender in the field of film. Plaintiff also completed a
documentary film entitled, Belly of the Basin, about post-Katrina New Orleans,
which was screened at juried film festivals; Living Thinkers: An Autobiography
of a Community of Women, which Plaintiff presented a paper on at the 9"
International Conference of the Collegium of African American Research.

13. Plaintiff was actively of service to the academic community at Fairfield
University through mentorship of students, involvement in the 5-year review of
the Film, Television & Media Arts Program, and election to a three-year term
on Defendant’s Curriculum Committee.

14. Plaintiff commenced her employment with Defendant in 2008. The plaintiff
was appointed to full time faculty in a tenure track position as an Assistant
Professor in the Film, Television & Media Arts Program (formerly known as the
New Media Program) of the Department of Visual and Performing Arts housed
within the College of Arts & Sciences. At all relevant times, Plaintiff has
professionally, competently, and diligently performed her job duties as an

employee of Defendant.

 

 
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15. Plaintiffs employment as an assistant professor on tenure track was governed
by oral and written communications between Plaintiff and Defendant as well as
circumstances and academic customs or usage that served to define the terms
and conditions of the employment agreement leading to tenure.

16. Plaintiff received an offer letter for the position of Assistant Professor of Visual
& Performing arts letter dated February 12, 2008 (hereinafter the “position
offer letter”). The offer letter established that Plaintiff was offered a one-year
renewable contract that “will be counted as normal experience toward tenure.”
Furthermore, the Plaintiff was given one year of credit for prior service in the
academic profession which would shorten the maximum probationary period
before tenure. The position offer letter instructed Plaintiff that, “you must apply
for tenure review in the 2012-2013 academic year, your fifth year here.” The
position offer letter did not establish procedures for the review or tenure
process.

17. Plaintiff was also presented with a “Faculty Contract” dated May 31, 2008
(hereinafter the “2008 Faculty Contract”) signed by Plaintiff and Jeffrey P. von
Arx, President of Fairfield University. According to the 2008 Faculty Contract,
the position offered to Plaintiff was Assistant Professor Visual & Performing
Arts. The Faculty Contract did not established procedures for the review or
tenure process. However the 7" clause stated that:

This contract shall be renewed upon the same or better terms and
conditions unless either party shall give notification of the intention
to terminate it according to the requirements for such notification

set down in the official statement of the University on this matter
and with due regard for the rights of tenures faculty members.

 

 

 
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18. Thereafter, Plaintiff continued to receive annual “Faculty Contracts” through
the date of the tenure decision at the end of the probationary period.

19. The probationary period, also referred to as the tenure track, is an
appointment to the faculty that is offered to allow the candidate an opportunity
to demonstrate that she has met the standards and criteria for tenure that have
been communicated to her at the commencement of her appointment and
during annual reviews of performance.

20. Prior to and during Plaintiff's employment at Fairfield University, Defendant
formally adopted and then published documents governing the process for the
tenure decision and the criteria applicable to that decision. Plaintiff reviewed
and relied upon these publications when conforming her plans for publication
of her scholarship during the probationary period and making adjustments to
her teaching and service. These documents included, but were not limited to,
the procedures, policies, and guidelines set forth in the tenth edition of
Defendant's Faculty Handbook and the Journal of Record and all
communications from the Chair of Plaintiff's department and the Dean of the
College of Arts & Sciences as set forth in this complaint.

21.Defendant’s Faculty Handbook § II.A.3.a provides that the, “Procedure for
application for tenure shali be the same as that for promotion in I1.A.2.a.”

22.Defendant’s Faculty Handbook § II.A.2a provides the procedure for promotion
as follows:

Schools shall publish their procedures for applying for promotion.

Procedures in all schools shall conform to the following guidelines:
(1) schools shall define "appropriate faculty" in adequate detail in
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the publication of their procedure for applying for promotion; (2) the
burden of proof that the faculty member should be promoted rests
with the faculty member. He/she shall supply information
appropriate and sufficient to sustain the case. Appropriate faculty
and the Dean shall be supplied with, and shall review, this
information before writing their evaluations; the Dean should review
the application and, when appropriate, make suggestions to
strengthen it; (3) the application procedure shall provide for written
evaluations of the applicant to be submitted by the appropriate
faculty to the person responsible for the applicant's curriculum area
and a separate written evaluation to be submitted by the Dean of
the appropriate school to the Committee on Rank and Tenure; (4)
faculty members and the Dean shall include in their evaluations a
clear recommendation to grant or withhold promotions and these
evaluations will become part of the candidate's Rank and Tenure

 

and_guality_of the _applicant’s_scholarship. (5) The Dean shail

arrange for the submission of at least three letters from external
reviewers, who will address the quantity and quality of the
applicant's scholarship. (Amendment to the 10th edition, approved
October 2010)

The Rank and Tenure Committee shall review the applicant's Rank
and Tenure file and decide whether to recommend promotion or not
to the President and the Board of Trustees of the University.
23.Defendant’s Faculty Handbook §II.A.2.a also provides that, “Upon request of
any faculty member denied promotion, the Administration shall furnish written
reasons for the denial to the candidate.”
24.According to Defendant’s Faculty Handbook §II.A.1.b.(3), the criteria for the
academic rank of Associate Professor is “(a) the doctorate or other terminal
degree in the appointee's field; (6 four-years-experience inthe rank-of
AssistantPrefesser; (b) five years experience in the rank of Assistant
Professor (Amendment to the 10th edition, approved March 2006); {c) a

demonstrated record of teaching effectiveness on the college level; (d)

demonstrated scholarly or creative activity that has been subjected to peer

 

 
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review; and (e) evidence of service to the academic community, a learned
society or professional service to other organizations.”
25. According to Defendant's Faculty Handbook § II.A.3.b the minimum

qualifications for recommendation to tenure are as follows.

(1) That the Committee on Rank and Tenure find that the
candidate clearly satisfies the criteria for his or her academic rank;
and

(2) That, because Fairfield University recognizes conspicuous
success in teaching to be of paramount importance, the candidate
shall have a demonstrated record of teaching effectiveness on the
college level; that, because Fairfield University recognizes that its
faculty are members of a scholarly community, the candidate shall
have a demonstrated record of scholarly or creative
accomplishments that have been subject to peer review; that the
candidate shall have presented evidence of service to the
academic community, a learned society or professional service to
other organizations; and

(3) That the candidate for tenure shall have served a probationary
period of not less than five years in the academic profession, not
less than two of which years shall have been served at Fairfield
University. The minimum probationary period of two years served at
Fairfield University shall be applicable even though the maximum
probationary period hereinafter referred to shall thereby be
extended. By mutual written consent of the faculty member and the
University, years served in the academic profession at another
institution may be omitted from the computation of the probationary
period. Allowable conditions for the exclusion of prior service would
be one or more of the following: the prior service was at a foreign
University; the prior service was in a different discipline; there has
been a significant gap in time since the prior service; the other
institution was of a type which required significantly different
teaching loads or had significantly different expectations of
professional competence from Fairfield; the service at the other
institution was prior to the receipt of the appointee’s doctorate or
terminal degree.

 

 
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26. Defendant’s Faculty Handbook § II.2. defines three areas for which “promotion

to the next higher rank shall require evidence of continuing professional

accomplishments which is found to be satisfactory by the Committee on Rank

and tenure.” Those areas are 1) teaching; 2) recognized professional

competence; and 3) professional services. According to Defendant's Faculty
Handbook § II.2.b.i, “Promotion to any rank shall require evidence of teaching
effectiveness.” Defendant does not define teaching effectiveness or provide

any metrics for how teaching effectiveness will be measure or consistently

assessed.

27.Defendant’s Journal of Record, Appendix 5: Timetable and Guidelines for

Tenure and Promotion asks faculty to report on numerous areas which deal

with teaching accomplishments in their tenure application as follows:

Teaching Accomplishments Since Initial Promotion § or
Appointment to Present Rank

a. Courses taught at Fairfield University

Identify and describe courses developed or substantially
redesigned, including new or existing courses designed for
community engagement, and other substantial teaching
activities that are counted as part of your assigned course load.

b. Teaching evaluation

Peer review - The applicant is encouraged to request
colleagues with firsthand experience of his/her teaching
ability to submit written reports based on these
observations. Colleagues may wish to address
differences between their perceptions of candidate's
teaching and student perceptions if the student
perceptions are known to the colleague.

. Student Evaluation Summary - If student evaluations are

submitted as supporting materials, a summary of the
student rating must appear in this section of the

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application. Sufficient information about the evaluation
instrument (especially a department or personal form)
and results must be provided to enable the committee to
make an informed decision.

iii, Other - As appropriate, include community partner
evaluations and community-based peer or student
evaluations.

iv. Teaching Grants, Awards, or Citations.

c. Description of involvement in curriculum development and
enhancement.

The candidate may include information about innovations in
teaching and integrative approaches that bring together
teaching, scholarship, and community engagement.

d. Student advising.
e. Student supervision.

Include activities such as independent studies, theses,
academic student organizations, student teacher/clinical
supervision, field trips, community-engaged projects/research,
and the like.

f. Participation in courses/seminars of other faculty.

g- Other community outreach teaching not counted as part of
your teaching load.

28. According to the Defendant's Journal of Record, Appendix 12: Guidelines for
Faculty Annual Merit Review and Self-Evaluation, faculty members are
expected to participate in an annual merit evaluation and self-assessment.
There are three potential levels of merit for faculty: standard, additional (further

merit level 1), and extraordinary (further merit level 2).

 
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29. Defendant's Journal of Record, Appendix 12 further provides that faculty are
assessed in the areas of teaching, scholarly/creative activity, and service. The
scoring matrix for merit review is that a score of 0 in any of the three areas is
considered adequate and meets the Standard Merit Level; a score of 1 is
considered very good and meets the Further Merit Level 1; a score of 2 is
extraordinary and meets Further Merit Level 2.

30.As defined in Appendix 12 the Defendant's Journal of Record, "Standard Merit
requires sufficient achievements or activities in teaching and one other area.
To earn Additional Merit, the faculty member must demonstrate achievements
at the Additional level in two areas and the Standard level in the third area.
Extraordinary Merit requires achievements at the Extraordinary level in one
area and at the Additional level in the other two areas."

31.In 2010, Plaintiff received a merit review score of Further Merit Level 1, which
indicated achievements and activities in teaching and scholarly/creative or
service.

32.|In 2011, Plaintiff received a merit review score of Standard, which by the
Defendant's guidelines required achievements or activities in teaching by the
Plaintiff.

33. Robbin Crabtree, Dean of Defendant's College of Arts & Sciences published a
“Pre-Tenure Faculty Review: Requirements and Recommendations for
Department Chairs” document which established the following annual review

process.

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¥ Each year, as a matter of course, the Chair and at least one
other tenured member of the department observe the pre-
tenure colleague’s classroom teaching.

o All observations should be discussed with pre-tenure
colleague, written up, and shared with the pre-tenure faculty
member (letters may be copied to Chair)

o Discuss student evaluations, quantitative and qualitative, with
pre-tenure faculty members annually.

« Additional department and outside faculty may also
observe teaching.

« Pre-tenure faculty members also should observe
tenured colleaques teach.

« Fall semester may be the best time for formal
department classroom observations so that all
materials can be assembled and reviewed by the
department in February or March in time for annual
review process.

o All tenured members of the department should have
conducted multiple visits and evaluations of each pre-tenure
faculty member's teaching during the probationary period
(this includes review of teaching materials, discussions of
goals and pedagogies, and classroom observations).

«" Work with the CAE to develop effective peer review of
teaching practices.

" Develop departmental cycles and routines for peer
review of teaching.

v The Chair facilitates a departmental conversation about the pre-
tenure colleague’s progress in teaching, scholarship, and
service.

© Pre-tenure faculty member's annual report should be made
available each year to all tenured faculty members for their
review.

o Set aside one department meeting each March for this
discussion.

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o Gull together comments and teaching observations to inform
the Chair’s letter.

" Chairs are encouraged gather comments from ID
program directors and other colleagues at the
university with whom the pre-tenure faculty member
has had substantive professional engagement.

" Departments may build consensus or vote on whether
to recommend renewal of continuing contract; majority
and minority opinions should be reported.

¥ The Chair must meet with the pre-tenure faculty member to
discuss the report prior to her/his scheduled meeting with the
Dean (all meetings with the Dean are in April).

o Review expectations based on University and department
standards; include reminders about contractual obligations
(including meeting attendance).

o Listen to pre-tenure faculty member's self-assessment and
reflections.

o Offer honest assessment of progress, areas for improvement,
and other reflections.

o Chair must provide a copy of the letter to the pre-tenure
faculty member prior to his or her scheduled meeting with the
Dean.

" Chair should discuss contents of letter with pre-tenure
faculty member face-to-face prior to her/his meeting
with the Dean.

« Pre-tenure faculty member may initiate such a meeting
and should be given the opportunity to clarify or make
factual corrections.

34. Defendant's “Pre-Tenure Faculty Review: Requirements and
Recommendations for Department Chairs” also provided that each annual

review letter should advise Plaintiff regarding her progress towards tenure. In

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particular, the document states that the department should not recommend a
final contract after the 2"? or 3 year when the fit and progress are insufficient.
o In cases where suggestions for improvement and_ other
expectations are not being met satisfactorily, annual review letters
should include increasingly pointed language in each successive
year.

« By the end of the third year on the tenure clock, the
department should engage in a serious consideration of
whether the pre-tenure faculty member is making adequate
progress toward tenure and promotion to remain on the
tenure track.

« It is appropriate to make decisions during the probationary
period based on specific attitudes or behaviors that affect job
performance, productivity, and/or norms of civility and
collegiality in the Academy and at Fairfield University.

" if is usually best for an institution and for the pre-tenure
faculty member to part ways in the 3” or 4" year {ie.,
recommend a terminal contract after the 2" or 3° year) in
cases where progress and/or fit are not satisfactory.

35. The Plaintiff received four successive reappointments to the faculty as an
Assistant Professor in a tenure track position between 2008 and 2012.
Plaintiff also served as Program Director for the Film, Television and Media
Arts Program in the College of Arts & Sciences in the Spring 2011 semester.

36.At each successive reappointment Plaintiff received the annual
evaluation/review from the chair of the Visual and Performing Arts Department.

37. During Plaintiffs employment with the Defendant, she was a key person in
developing new required courses and writing requirements, which added

challenging work for students who were Film majors. In annual assessments

of Plaintiff, the Visual and Performing Arts Department advised that its

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members expected Plaintiff to bring rigor and structure to the Film, Television
and Arts Department.

38. Plaintiff's 2009 review was performed by Lynne Porter, Chair of Visual and
Performing Arts who wrote by letter dated April 2, 2009 that, “[w]ith her arrival,
the New Media faculty has started to formalize its procedures, and has started
to meet regularly as a group. Not surprisingly, program-wide curricular
changes are being discussed, and changes are underway. At her request,
historically informal practices of the program are being formalized for students,
with an eye toward greater transparency of process. She is also challenging
students on racist, sexist, and homophobic choices in their filmmaking
projects, and she hopes to bring greater levels of professionalism to the entire
program.” The letter concluded that, “Prof. Roxana Walker-Canton has had a
good first year, and she is progressing well towards tenure and promotion.”

39. Professor Porter's endorsement of Plaintiff was echoed in a supplemental
evaluation letter by Robin Crabtree, Dean of the College of Arts & Sciences,
dated April 24, 2009.

40. Plaintiff's 2010 evaluation was performed by Professor Porter who wrote by
letter dated April 1, 2010 that, “We had a solid conclusion to the Mid-
Probationary Review, when Prof. Chamiin told her that the VPA faculty has
tremendous excitement for her knowledge and her expertise ... Prof. Roxana
Walker-Canton has had a challenging second year, and if she addresses the
concerns raised by the VPA faculty, she should be in good shape for her

tenure application in 2011.” Regarding the Plaintiff's teaching the letter states,

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At,

“The senior VPA faculty members have all visited Prof. Walker-Canton’s
classes this semester. In general, the observations have been positive. Most
faculty members, myself included, have witnessed strong dynamics in her
classroom. The lessons are well-planned, the students respond to questions
with a good grasp of the material, and the sessions have a nice combination of
lecture, discussion, viewing media, and analysis.”

In the suppiemental evaluative letter by Dean Crabtree dated April 7, 2010, the
letter concluded that, “Prof. Walker-Canton has already made significant
contributions to the New Media program and its curriculum, and her teaching is
as expected for a seasoned instructor.” Dean Crabtree echoed the continuing
expectation that Plaintiff bring rigor to the program in the letter stating that,
“{T]hey [senior VPA faculty] also encourage Prof. Walker-Canton to continue to
challenge what they see as a lackadaisical attitude among many students in

the film/TV courses.”

42. Plaintiffs 2011 evaluation was performed by Brian Torff, Temporary Chair of

Visual and Performing Arts by letter dated March 14, 2011. In the letter
Professor Torff stated that, “Overall: Dr. Walker-Canton is facing the
challenges of being program director well. | endorse Dr. Walker-Canton’s
efforts in the areas of service, teaching, and her scholarly work.” The
evaluation also observed that, “In viewing her March 2"4 2011 TL230 Remote
TV Production class, | found that “Her class discussion was thought-provoking

due to her asking probing questions of the students.”

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43.In the Spring 2011 academic semester, Plaintiff co-taught TA 233 Acting for
the Camera with Professor Mariah Sage, a white female, but because of
problems coordinating the classes, in April 2011 Professor Sage and Plaintiff
agreed to not hold classes together. Plaintiff emailed Brian Torff, then Acting
Chair of the Visual and Performing Arts Department to notify him of the
change. Professor Torff sent Plaintiffs email to the entire Visual and
Performing Arts Department, who then used the incident to blame Plaintiff for
the failure of the team-teaching effort, instead of the white female, and to paint
the Plaintiff as unprofessional in subsequent evaluations, despite never having
asked to meet with the Plaintiff or discuss the class with her.

44. After Professor Torff sent Plaintiff's email to the entire Visual and Performing
Arts Department faculty the Department’s faculty began deviating from their
stated expectations for Plaintiff to secure tenure.

45.Professor Torff then performed a markedly different evaluation of Plaintiff by
letter dated in May 2, 2011 after four Visual and Performing Arts Department
faculty members voted against Plaintiff's contract renewal. In assessing
Plaintiffs teaching, the letter stated that Plaintiff's teaching was positive and
cited several professors who observed and praised Plaintiff's teaching.

46. in this letter, Professor Torff raised the problem that Plaintiff's classes were
under enrolled for the first time, without any acknowledgement that the
expectation that Plaintiff bring academic rigor and structure to a program, as
demanded by her colleagues as a condition of employment, would naturally

result in fewer students opting to take Plaintiff's classes. The Jetter did not

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acknowledge that Reverend James Mayzik, S.J., Associate Professor of Visual
and Performing Arts purposefully allowed students to over-enroll in his courses
so there would be fewer students left to enroll in Plaintiff's classes. The letter
also raised the issue of Plaintiff's punctuality for the first time stating, “My VPA
colleagues have continually raised punctuality as an issue. It is our
expectation that Professor Walker-Canton arrive on time to class.”

47. Professor Torff’s letter concluded by also raising collegiality as an issue for
first time, stating that, “It is the expectation and hope of the Visual and
Performing Arts tenured faculty that should Professor Walker-Canton be
granted renewal of a continuing contract for 2011-12, that she completely and
demonstrably develop a more collegial manner ... This is essential to her
future at Fairfield University, the success of the New Media program and the
Department of Visual and Performing Arts. We are all hopeful that this will be
a turning point and look forward to positive change.”

48.in a supplemental letter dated May 2, 2011, Dean Crabtree addressed faculty
concerns stating, “l subsequently met with Profs. Torff and Porter (who will
resume her chair term next year) along with Prof. Walker-Canton to discuss
the departmental concerns. First, | noted that mutual assessment of an
untenured colleagues’ fit with a program culture and its standards of
performance is an appropriate and necessary feature of the probationary
years. Second, | communicated my hope that the department would be open
to Prof. Walker-Canton’s efforts to address their concerns and give her

genuine opportunities to overcome their negative perceptions in the coming

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year ... Given noteworthy contribution in all three areas [teaching, scholarship,
and service], and with hopes that the conflicts will subside through shared
effort and that Prof. Walker-Canton will work to successfully address
departmental concerns, | recommend renewal of a continuing contract this
year.”

49. Dean Crabtree’s 2011 supplemental letter recognized student resistance to
Plaintiff's efforts to structure the academic programming in the Film, Television
& Media Arts Program, noting that, “In her capstone course, she added
annotated bibliographies and research papers to what has been, in the past, a
course focused almost exclusively on production, and one | also had
recommended during the 5-year review process. She found that students
have resisted this change and consequently, registration enrollments in her
subsequent capstone sections reflect this resistance.”

50. Dean Crabtree’s letter also noted that, “Concerns have also been noted by her
colleagues about regular tardiness to class, apparent disorganization or lack of
preparation, and the need to develop better rapport with the students in the
program; these concerns seem to be consistent with student responses from
spring 2010.”

51.In October 20, 2011 Professor David Gudelunas, Associate Professor and
Chair of the Department of Communication in the College of Arts & Sciences,
submitted a pre-tenure annual review letter in support of Plaintiff's application
for tenure and concluded that, “Roxanna is a wonderful asset to both the New

Media Program as well as the Women’s Studies program. | enjoyed

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Roxanna’s class as much as | enjoy her warm collegiality in helping coordinate
the program in Women’s studies ... | truly believe she has found her niche at
Fairfield.”

52.At the time of plaintiff's fourth reappointment in 2012, Professor Porter
submitted an annual review letter for the Plaintiff dated April 4, 2012. In the
letter, Professor Porter stated that, “In general, various VPA colleagues have
noticed an improvement in Prof. Walker-Canton’s professional comportment in —
relation to departmental! norms for collegiality and engagement in department
operations. She is apparently taking our constructive feedback to heart. This
is a positive dynamic, and we are pleased and encouraged. A number of VPA
colleagues and | have visited Prof. Walker-Canton’s classes this year, and
everyone reports markedly better class sessions than in previous years. The
classes are well organized, with a nice variety of activities ... We are glad to
see the improvement over class visits in previous years, and encourage Prof.
Walker-Canton to continue in this direction.”

53. Professor Porter's letter also noted that, “Prof. Scalese noted three instances
during this spring 2012 semester in which she was late for her Senior
Capstone class.” The evaluation does not mention whether Professor Scalese
confirmed with Plaintiff that she was indeed late and if so, the reason why. In
a letter dated August 17, 2012 Rev. Mark Scalese provides feedback to the
Plaintiff on her performance and never raises the issue of tardiness.

54. Professor Porter's evaluative letter again critiques the Plaintiff on her

relationships with students, stating, “While she is teaching the daily material of

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the classes, using appropriate methods, a crucial piece seems to be missing: a
basic interpersonal connection.” The evaluation does not mention that Plaintiff
invited Film, Television & Media Arts Program student to her home for dinner
during the Fall 2011 semester and advised 20-25 students per semester.

55. Professor Porter’s letter concludes by stating that “The senior VPA faculty
unanimously requests that Prof. Walker-Canton ask to have the one year of
previous teaching credit removed from her tenure clock, so she can wait to
apply for tenure and promotion until 2013. This will allow her another year to
demonstrate significant progress in relation to areas of expressed concerns by
the department, especially in the area of teaching.”

56.Dean Crabtree wrote a supplemental letter to Lynne Porter’s annual review in
which she affirmed the VPA department’s request and concerns. The letter
notes that Plaintiff had the right to proceed according to the clock negotiated at
the time of her hire. The letter recommended renewing the continuing
contract.

57.Dean Crabtree’s letter also critiqued over reliance on student evaluations to
assess the Plaintiff stating that, “Il also am concerned about this [low response
rate for student evaluations] for all pre-tenure faculty as small sample sizes
make data volatile and statistically invalid, as the FEDC warned us (also a
single student or two can skew the averages).”

58.In a letter dated August 17, 2012 Rev. Mark Scalese, Associate Professor in
the Film, Television and Arts Program provided feedback to Plaintiff as

requested by Dean Crabtree, which stated that, “I think that you are in a good

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position to apply for tenure and promotion in the fall ... You also bring a
cordial, collegial presence to our New Media faculty meetings... you have
consistently encouraged our program to be more collegial and transparent in
its decision-making, more open to diversity in its course offerings and dealings
with students ... In our one-on-one conversations this past semester, your
care and concern for our students has become increasingly clear to me.” The
letter closes with, “rest assured that | WILL be supportive of you and your
case.” Nowhere in the letter is tardiness mentioned by Rev. Scalese.

59. Plaintiff applied for promotion to Associate Professor and tenure on September
17, 2012 pursuant to the requirements in Appendix 5 of Defendant’s Journal of
Record, which establishes a timetable and guidelines for the dossier that is to
be submitted for the tenure application.

60. The plaintiff more than met the conditions and concerns as outlined in Lynne
Porter's letter. Nevertheless, the VPA department did not support Plaintiff's
application for tenure.

61.On or about January 2013, Piaintiff was informed that she had been denied
tenure and promotion to the rank of Associate Professor.

62. After receiving notification of the denial of tenure, Plaintiff met with Paul
Fitzgerald, Vice President of Academic Affairs, and Robin Crabtree, Dean of
Arts and Sciences, separately, for clarification on why Plaintiff did not receive
tenure.

63.In Plaintiff's meeting with Mr. Fitzgerald, he stated that Plaintiff did not receive

tenure because student evaluations stated that Plaintiff was late to class,

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disorganized and handed work back late. When Plaintiff asked him for this
feedback in writing so that she would be clear about what she needed to
appeal, he told her that he would not provide a written summary of the
committee’s reasons for denying her a recommendation of tenure.

64. In Plaintiff's meeting with Dean Crabtree in Spring 2013, she stated to Plaintiff
that the reasons given by Mr. Fitzgerald were not legitimate reasons to deny
tenure.

65.On or about March 2013, Plaintiff filed an appeal of the denial of tenure.

66. On or about March 25, 2013, Plaintiff received notice that her denial of tenure
was affirmed.

67.On or about May 10, 2013, Plaintiff received a terse explanation of denial of
tenure, stating that “[t]he rank and tenure committee found, upon review of
your dossier, supporting materials, and letters of evaluation by peers, that
there was insufficient evidence of continuing professional accomplishments in
the area of teaching to merit tenure and promotion.”

68.As an Assistant Professor in the Film, Television and Media Arts Program the
Plaintiff reasonably expected that members in the Visual and Performing Arts
Department or College of Arts & Sciences would define "appropriate faculty” in
adequate detail as required in the Defendant's Faculty Handbook § II.A.1.a.
Absent a specific communication to the contrary, Plaintiff reasonably expected
that the members of her department would have consistent expectations and
would not expect her to meet standards not communicated to her. Rather, the

Plaintiff reasonably expected that the Visual and Performing Arts Department

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would establish a clear definition of “appropriate faculty” that would apply
clearly and consistently to all faculty within the Film, Television and Media Arts

Program.

69. Contrary to Plaintiff's reasonable expectation, the Visual and Performing Aris

Department did not establish a clear definition of “appropriate faculty.”
Further, the Visual and Performing Arts Department did not apply a consistent

standard that was clearly communicated to Plaintiff.

70. Plaintiff reasonably expected Defendant to rely upon policies established in

71.

Defendant's Faculty Handbook and Journal of Record in evaluating Plaintiff's
application for tenure.

Despite asking Plaintiff to report on numerous areas related to teaching
accomplishments as one of the three areas that Plaintiff would be evaluated
on for tenure (teaching, recognized professional competence, and professional
services) in accordance with Defendant's Faculty Handbook Section § II.2.b,
the Defendant relied upon a subset of one out of the seven areas related to

teaching as the basis to deny Plaintiff tenure.

72.Defendant’s reasoning in denying Plaintiff tenure did not take into

consideration the limits of reliance on student evaluations which was noted by
Dean Crabtree in her April 29, 2012 supplemental evaluation letter for Plaintiff
which stated, “I also am concerned about this [low response rate for student
evaluations] for all pre-tenure faculty as small sample sizes make data volatile
and statistically invalid, as the FEDC warned us (also a single student or two

can skew the averages).”

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73.According to the Defendant's student evaluations, out of the 188 students that
Plaintiff taught in six courses between 2009 and 2012, only 7 students noted
tardiness as a problem, 11 noted timeliness in returning work as a problem
and 22 noted disorganization as a problem. Furthermore, nearly al! of these
comments pre-dated the VPA department’s criticism and the
acknowledgement in 2012 that Plaintiff had improved. Indeed, following the
April 2012 letters there were no student complaints of tardiness, only two
students noted delayed return of work and six students made comments
regarding organization. |

74. Defendant's reasoning to deny Plaintiff tenure also did not take into
consideration that the small number of negative student evaluations are a
natural outcome of the academic rigor and structure that Plaintiff was expected
to bring to the Film, Television and Media Studies Program. Defendant
brought Plaintiff onto the faculty to perform a task that was naturally disliked by
students and then used the negative student evaluations as a basis to deny
her tenure. This problem of student feelings towards Plaintiff was noted by
Dean Crabtree, who in her April 29, 2012 supplemental letter stated that, “Prof.
Walker-Canton convinced her colleagues in New Media to increase
expectations in the [senior] capstone, requiring formal research (on film theory
and related to the students’ film projects), an annotated bibliography, and oral
presentations, in addition to the film itself. She noted that students don’t seem

to be responding well to these new expectations (which not have been

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adopted for all sections of capstone, not just hers), complaining that they are a
distraction from their work on the film project itself.”

75. Defendant's reasoning for denial of tenure directly conflicts with evaluations of
Plaintiff's classes, including the April 4, 2012 annual evaluation letter
submitted by Professor Porter, which states “A number of VPA colleagues and
| have visited Prof. Waiker-Canton’s classes this year, and everyone reports
markedly better class sessions than in previous years. The classes are well

organized, with a nice variety of activities.”

COUNT ONE: NEGLIGENT MISREPRESENTATION

1-75 Paragraphs one through seventy-five are incorporated by reference and
made paragraphs one through seventy-five of Count One as though more fully set
forth herein.

76. Defendant failed to exercise due care in obtaining and communicating
information to the Plaintiff regarding the standards applicable to the tenure
decision, including, but not limited to the standard of teaching effectiveness
sufficient for promotion and tenure along with an evaluation of Plaintiff's
performance against that standard.

77. Plaintiff relied upon her continued reappointment and the communications and
advice she was given regarding her teaching and the tenure decision and
conformed her conduct to the information she received. Despite being advised
that any issue with teaching effectiveness had been addressed, Defendant
relied upon evaluations that pre-dated such criticisms to deny Plaintiff tenure
even though the same departmental members recommended her for

reappointment to tenure track on the same evidence, contrary to established

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rules stating a positive recommendation should not be made under such
circumstances.

78.As a result of Defendant's negligent misrepresentation, Plaintiff was denied
tenure and had suffered damages including the loss of wages and benefits,
emotional distress, loss of enjoyment of life, the destruction of her career in

academia and harm to her reputation as a film maker.

COUNT TWO: BREACH OF CONTRACT

1-75 Paragraphs one through seventy-five are incorporated by reference and

made paragraphs one through seventy-five of Count Two as though more fully set
forth herein.

 

76. The defendant has breached the employment agreement between Fairfield
University and the Plaintiff, including the implied covenant of good faith and
fair dealing, by refusing to consistently comply with the Defendant’s Journal of
Record and Faculty Manual which provides the procedural and substantive
requirements for tenure.

77. Furthermore, the Defendant breached the implied covenant of good faith and
fair dealing required that neither party would act to defeat the reasonable
expectations of the other party, but that each party would deal honestly and
faithfully to adhere to the principle that tenure should be granted if Plaintiff

objectively met the Defendant's standards for tenure as communicated to

 

Plaintiff in the Faculty Handbook, Journal of Record, “Pre-Tenure Faculty
Review: Requirements and Recommendations for Department Chairs”, annual
tenure track evaluations, and other oral and written communications between

Plaintiff and Defendant.

 

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78. Contrary to Plaintiff's reasonable expectations, the procedures set forth in
Defendant's Journal of Record, Faculty Handbook and “Pre-Tenure Faculty
Review: Requirements and Recommendations for Department Chairs” were
not followed in that: (1) the Visual and Performing Arts Department and the
College of Arts and Sciences failed to clearly define and hold all faculty in the
Film, Television and Media Arts Program to the same standard for promotion
to tenure; (2) the Visual and Performing Arts Department failed to establish a
definition of “appropriate faculty” that was consistently and clearly
communicated and applied to Plaintiff; (3) the Visual and Performing Arts
Department consistently changed the expectations for Plaintiff during the
probationary period; (4) the Defendant did not notify the Plaintiff in her final
annual evaluation, as required in “Pre-Tenure Faculty Review: Requirements
and Recommendations for Department Chairs” that there were concerns with
her teaching sufficient to deny her tenure, rather Defendant express
satisfaction with Plaintiff's teaching; and (5) Defendant repeatedly deviated
from their stated expectations of Plaintiff for her to acquire tenure’ (6)
Defendant continued to reappoint her after Plaintiff had attended to teaching
criticism and then used the same issues to deny Plaintiff tenure when the rules
required the department not to recommend Plaintiffs continued employment.
As such, Defendant also acted arbitrarily, capriciously and in bad faith
regarding denial of a recommendation for tenure based on alleged issues with

teaching.

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79.As result of Defendant’s breach of the employment agreement regarding
tenure, Plaintiff has sustained damages including, but not limited to, the
difference in wages between what she is now earning and what she would
have earned had Fairfield granted her tenure, loss of enjoyment of life, and the

loss of all benefits associated with tenured status at Fairfield University.

COUNT THREE: DISCRIMINATION IN VIOLATION OF TITLE VII OF THE
CIVIL RIGHTS ACT OF 1964, AS AMENDED, 42 U.S.C. § 2000e et seq.

1-75 Paragraphs one through seventy-five are incorporated by reference and
made paragraphs one through seventy-five of Count Three as though more fully set
forth herein.

76. The racial and gender animus certain members of the Visual and Performing
Arts Department harbored towards Plaintiff influenced the denial of tenure and
was displayed in the denial of tenure based upon conflicting reasoning and the
failure to adhere to the procedures provided for tenure decision-making process.
Plaintiff, the only person of color employed on tenure track or tenured in the VPA
department, was also held to a higher standard than similarly situated white
males.

77.At the time the Plaintiff began her employment with the Defendant, the Film,
Television & Media Arts Program comprised of two full time faculty members who
are white males - Reverend Mark Scalese, S.J., Associate Professor of Visual
and Performing Arts and Reverend James Mayzik, S.J., Associate Professor of
Visual and Performing Aris. Rev. Scalese attained tenure in 2010 and Rev.

Mayzik attained tenure in 2011.

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78. During the period of Plaintiffs employment with the Defendant, she was
subjected to harsher and continually changing standards for attaining tenure and
was treated differently than Rev. Scalese and Rev. Mayzik.

79.Rev. Mayzik was a full time faculty member at Fairfield University since 1994 and
was not granted tenure until 2011, which violates Defendant's policy in Faculty
Handbook, §II.A.3.c.(1), establishing that the maximum probationary period of
time full-time teaching at Fairfield University without application to tenure is
seven years. Defendant’s policies do not allow for stopping the clock or
postponing a decision regarding promotion and/or tenure.

80.Rev. Mayzik was denied a recommendation of tenure by the VPA faculty and
granted tenure by Defendant. This was in spite of VPA faculty concerns that
Rev. Mayzik’s teaching quality was poor and did not include sufficient amounts of
reading, writing, reflection or critical thinking. For example, Rev. Mayzik would
teach classes with adjunct professors, even though the classes were not
advertised as joint teaching classes. In these classes, Rev. Mayzik and the
adjunct professor would argue about key concepts which would confuse
students. Moreover, Rev. Mayzik would purposefully violate course enrollment
limits and over enroll students in his class to make it appear that his classes were
more popular.

81. During the period of Plaintiff's employment with the Defendant, she was
subjected to gender and racial bias.

82. Plaintiff was the co-organizer of “Reel Women”, between 2010 and 2014, a

program which sponsored seven different presentations by filmmakers and

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scholars focused on the issue of gender in the field of film. Despite being invited
to and in at least five instances being reminded several times and implored to
attend, no Visual and Performing Arts Department faculty attended any of these
events demonstrating that Plaintiff was not welcomed in the department.

83.In 2008, when Plaintiff began working for the Defendant she was placed in a
physically insecure office without a functioning door. In contrast, both Rev.
Mayzik and Rev. Scalese, who were also pre-tenure faculty in the Film,
Television & Media Arts Program in 2008 had offices with functioning doors in
Xavier Hall, which housed the Film, Television & Media Arts Program. When
Plaintiff complained about her inadequate office space, she was moved to
Donnarumma Hall, across the campus. In the meantime, as office space
became available Xavier Hall it was given to recent students who graduated and
worked in the Media Center, instead of Plaintiff.

84. Members of the Visual and Performing Arts faculty then began to use Plaintiffs
lack of a physical presence in the Media center against her in evaluations,
despite the fact her assigned office was in a separate building, which was out of
her control. In an April 4, 2012 annual assessment of Plaintiff, Professor Lynne
Porter, Chair of the Visual and Performing Arts Department stated, “The senior
VPA faculty is convinced that a great part of this dynamic [lack of mentoring of
students by Plaintiff] is the fact that she is not physically present. She is only in
the Media Center when she is teaching a scheduled class, so she does not

maintain a presence in and around the various labs and studios.”

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85.In March 2011, Plaintiff made a research presentation of her work and organized
a film series in honor of black history month and women’s history month, no full
time faculty members within the Visual and performing Arts Department or Film,
Television & Media Studies Program attended further demonstrating that Plaintiff
was not welcomed in the department.

86.In contrast, in Spring 2010, an adjunct professor in the Art History program in
Defendant’s Visual and Performing Arts Department, Victor Dupei, a white male,
gave a scholarly talk on italian architecture in the same location. There were
several Visual and Performing Arts Department faculty in attendance.

87.During the Spring 2011 academic semester, despite being pre-tenure faculty,
Plaintiff was assigned to serve as Program Director of the Film, Television &
Visual Arts Program due to existing tenured faculty in the Program taking a leave
of absence. No one within the Visual and Performing Arts Department offered to
serve as Program Director of the Program. In contrast, when the Theater
Program within the Visual and Performing Arts Department required a Program
Director, rather than have pre-tenure faculty member Professor Sage, a white
female, serve as Program Director, Professor Porter, Chair of the Visual and
Performing Arts Department stepped down as Chair of the Department to
temporarily serve as Program Director of the Theater Department.

88. In a subsequent lunch in the Faculty Commons with Professor Sage to discuss
their relationship following the separation of the two courses that had been team
taught, Professor Sage, a white female who was favored by the white members

of the VPA department and therefore suffered no criticism for the failure of the

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team-teaching experiment, unlike Plaintiff whose was then accused of lack of
collegiality, stated to Plaintiff that maybe “where you come from” and the people
Plaintiff communicates with work like this and talk like this, but Professor Sage

didn't work or talk like Plaintiff. Professor Sage also stated that she felt unsafe

around Plaintiff, without any explanation for why she felt unsafe at a public lunch.

89. Professor Sage’s comments at lunch reflected and the ways in which the VPA
department failed to support and ostracized Plaintiff demonstrate the view of the
members of the VPA department that Plaintiff was different and an outsider
based on her race.

90. Plaintiff also was the recipient of sexist language by co-workers within the Film,
Television & Media Program. In a meeting with Plaintiff Rev. Scalese
complained to her that he did not understand how she could fail to make the
students feel as if she “cares” about them since he has seen what a wonderful
mother she is to her own children.

91.Rev. Mayzik in the Film, Television & Media Program also encouraged students
and adjunct professors to repeatedly undermine Plaintiff's status as a full-time
tenure track professor.

92. Rev. Mayzik was director of Defendant’s Media Center for several years and
during that time period he would designate students and staff teach courses on
equipment who would review Plaintiff's student's coursework and provide
conflicting feedback which caused confusion among students on the appropriate

standards for their coursework.

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93.Rev. Mayzik allowed his production students to take out equipment from the
Media Center while he required Plaintiff's production students to show him their
proposal or script before he allowed them to take out equipment.

94.Rev. Mayzik provided keys to students to doors in the Media Center building that
Plaintiff did not have keys or access to.

95. Defendant also encouraged a culture that lacked diversity. The entry point to the
main hall where Film, Television & Media Program classes were held displayed
overwhelmingly white film representations and a statute of a nude male. When
Plaintiff requested that the Defendant consider displaying more diverse film
representations, her request was ignored.

96. In denying tenure and promotion to Plaintiff, Defendant rejected Plaintiff because
of her diverse views and background that was not similar to or shared by the all
white faculty members of the VPA department, and held Plaintiff to a higher
standard than similarly situated tenure track employees, including the white male
members of her own department that were granted tenure.

97.Based on the foregoing, Defendant discriminated against Plaintiff on the basis of
race and gender in the terms and conditions of her employment, including the
denial of tenure and promotion resulting in the termination of Plaintiff's
employment, in violation of Title VII of the Civil Rights Act of 1964, as amended,
42 U.S.C. § 2000e et seq.

98.Defendant’s actions were intentional in that they were willful, wanton, and taken

with reckless disregard of Plaintiffs rights.

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99.As a result of Defendant's discriminatory actions, Plaintiff has suffered damages,
including, but not limited to, economic and non-economic damages in the form of
loss of wages and benefits, emotional distress, loss of enjoyment of life and
profession, and harm to reputation.

100. As a further result of Defendant’s discriminatory conduct, Plaintiff has

incurred, and will continue to incur, attorney’s fees and costs.

COUNT FOUR: DISCRIMINATION IN VIOLATION OF THE CONNECTICUT FAIR
EMPLOYMENT PRACTICES ACT, CONN. GEN. STAT. § 46a-60 ef seq.

1-96 Paragraphs one through ninety-six of Count Three are incorporated by
reference and made paragraphs one through ninety-six of Count Four as though
more fully set forth herein.

97.Based on the foregoing, Defendant discriminated against Plaintiff on the basis of
race and gender in the terms and conditions of her employment, including the
denial of tenure and promotion resulting in the termination of Plaintiff's
employment, in violation of the Connecticut Fair Employment Practices Acct,
Conn. Gen. Stat. § 46a-60 et seq.

98.Defendant’s actions were intentional in that they were willful, wanton, and taken
with reckless disregard of Plaintiff's rights.

99.As a result of Defendant's discriminatory actions, Plaintiff has suffered damages,
including, but not limited to, economic and non-economic damages in the form of
loss of wages and benefits, emotional distress, loss of enjoyment of life and
profession, and harm to reputation.

100. As a further result of Defendant’s discriminatory conduct, Plaintiff has

incurred, and will continue to incur, attorney’s fees and costs.

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DEMAND FOR RELIEF

WHEREFORE, the plaintiff demands a TRIAL BY JURY and judgment against

the Defendant as follows:

1.

An order reinstating the plaintiff to a position as Associate Professor of Film,
Television and Media Arts with tenure and awarding her the salary and
benefits she would have received had she been granted promotion and
tenure in 2013 together with interest:

Economic damages including lost wages and benefits

Non-economic damages, but not limited to, damages for emotional distress,
pain, humiliation and embarrassment, loss of enjoyment of life, loss of
enjoyment of profession, and harm to reputation.

Punitive damages pursuant to 42 U.S.C. § 1981a and Connecticut General
Statutes § 46a-104 as “legal relief”;

Interest;

Attorney's fees and litigation costs, 42 U.S.C. § 2000e-5 and 42 U.S.C. §
1988, and Connecticut General Statutes § 46a-104

Such other further monetary or injunctive relief as this Court deems

necessary and proper.

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Dated at New London, Connecticut this 15" day of September, 2014

PLAINTIFF
ROXANA WALKER-CANTON

Ler eR

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